Case 3:12-cv-00087-W-PCL Document 10-2 Filed 08/21/12 PageID.51 Page 1 of 2



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 7    Attorneys for Defendant CITY OF CALEXICO

 8
                                UNITED STATES DISTRICT COURT
 9
                             SOUTHERN DISTRICT OF CALIFORNIA
10

11

12   JUAN GARCIA,                            )             No. ’12CV0087 W JMA
                                             )
13          Plaintiff,                       )             PROOF OF SERVICE
                                             )
14          vs.                              )
                                             )
15   CITY OF CALEXICO, a municipality;       )
     VICTOR CARILLO, individually and in his )
16   capacity as City Manager of the City of )
     Calexico; and DOES 1 through 10,        )
17   Inclusive,                              )
                                             )
18          Defendants.                      )
                                             )
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     33943                                            1
                                               PROOF OF SERVICE
Case 3:12-cv-00087-W-PCL Document 10-2 Filed 08/21/12 PageID.52 Page 2 of 2



 1   Juan Garcia v. City of Calexico, et al.
     United States District Court, Southern District of California Case No. ’12CV0087 W JMA
 2

 3                                         PROOF OF SERVICE
 4           I, MICHAEL T. GIBBS, caused the attorney(s) (registered filing users) on the service list
 5
     herein to be served via the Court’s electronic filing system per Local Rule 5-3.2.
 6
             On August 21, 2012, I served the following documents described as follows:
 7
        DEFENDANT CITY OF CALEXICO’S NOTICE AND MOTION FOR JUDGMENT ON THE
 8                  PLEADINGS PURSUANT TO FED. R. CIV. PRO. 12(c)

 9    DEFENDANT CITY OF CALEXICO’S MEMORANDUM OF POINTS AND AUTHORITIES IN
               SUPPORT OF MOTION FOR JUDGMENT ON THE PLEADINGS
10                       PURSUANT TO FED. R. CIV. PRO. 12(c)
11

12   Parties Served:

13   Michael A. McGill, Esq.
     Mcgill@policeattorney.com                     Attorney for Plaintiff JUAN GARCIA
14
     Carolina Veronica Cutler, Esq.
15   Veronica@policeattorney.com                   Attorney for Plaintiff JUAN GARCIA

16           I declare under penalty of perjury under the laws of the State of California that the

17   foregoing is true and correct.
18           Executed on August 21, 2012, at San Diego, California.
19

20
                                                           /s/Michael T. Gibbs________
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                                            PROOF OF SERVICE
